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                     EXHIBIT 4
            Email from Val Gurvits to
             Ronald D. Green, Jr.
             dated June 27, 2015
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  From: Val Gurvits vgurvits@bostonlawgroup.com
Subject: Re: AMA Multimedia, LLC adv. Borjan Solutions S.L. et al. - Arbitrator Selection
   Date: June 27, 2015 at 9:34 AM
     To: Marc Randazza mjr@randazza.com
    Cc: Ron Green rdg@randazza.com, Matthew Shayefar matt@bostonlawgroup.com, Evan Fray-Witzer Evan@cfwlegal.com


You shouldn't use anyone. But if you choose to file, you are going to have to use a nationally recognized arbitration forum. Uncle
Bob's Arbitration and Weddings of Las Vegas won't cut it.

Val
Sent from my iPhone

On Jun 27, 2015, at 7:30 PM, Marc Randazza <mjr@randazza.com> wrote:

  We are not going to use JAMS, unless you want to agree to Pro.

  On Sat, Jun 27, 2015 at 9:24 AM, Val Gurvits <vgurvits@bostonlawgroup.com> wrote:
    Ron –

       We rejected Pro before; we reject him now. We proposed Gonzalez; you rejected her.

       A month ago Marc wrote and said you wanted to go the “old fashioned ranking way,” so we invited your client to initiate
       arbitration, even though we think any claims asserted will be frivolous and subject your client to the attorney’s fee provisions
       of the agreement.

       It’s clear we’re not going to agree on an arbitrator. We don't even agree that arbitration is warranted, as we believe any
       filing you make will be in bad faith. File, or don’t file. If you do file and we are forced to respond, we will utilize the ranking
       system employed by JAMS. Other than that, we’re really not interested in spending more time discussing arbitrators.

       Val
       Sent from my iPhone

       On Jun 27, 2015, at 2:47 AM, Trey Rothell <rlgstaff2@randazza.com> wrote:

         Mr. Gurvits:

         Please find attached a letter from Mr. Green regarding the selection of an arbitrator in the above-mentioned matter.

         Trey Rothell* | Randazza Legal Group
         3625 S. Town Center Drive Las Vegas, NV 89135
         Tel: 702-420-2001 | Email: rlgstaff2@randazza.com
         Firm Offices - Las Vegas | Philadelphia | San Francisco | Miami

         * Paralegal; not licensed to practice law.
         <2015.06.26 RDG Ltr to Gurvits re Serviporno Arbitrator.pdf>




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  Marc John Randazza, JD, MAMC, LLM* | Randazza Legal Group
  3625 South Town Center Drive | Las Vegas, NV 89135
  Tel: 702-420-2001 | Email: mjr@randazza.com
  Firm Offices - Las Vegas | Philadelphia | San Francisco | Miami
  ______________________________________

  * Licensed to practice law in Arizona, California, Florida, Massachusetts, and Nevada.
